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                   UNITED STATES COURT OF INTERNATIONAL TRADE
                   BEFORE THE HONORABLE CLAIRE R. KELLY, JUDGE


NEXTEEL CO., LTD., ET AL.,                         )
                                                   )
                          Plaintiff and            )
                          Consolidated Plaintiffs, )
                                                   )
                      and                          )
                                                   )
HUSTEEL CO., LTD., AND HYUNDAI STEEL COMPANY,)
                                                   )
                          Plaintiff-Intervenors, )
                                                   )
                       v.                          )   Consolidated Court
                                                   )   No. 20-03898
UNITED STATES,                                     )
                                                   )
                          Defendant,               )
                                                   )
                      and                          )
                                                   )
CALIFORNIA STEEL INDUSTRIES, INC. ET AL.,          )
                                                   )
                          Defendant-Intervenors )
                          and Consolidated         )
                          Defendant-Intervenors. )


                                 COMMENTS OF
                            SEAH STEEL CORPORATION
                     ON COMMERCE’S REMAND REDETERMINATION

                                  PUBLIC DOCUMENT


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                    UNITED STATES COURT OF INTERNATIONAL TRADE
                    BEFORE THE HONORABLE CLAIRE R. KELLY, JUDGE


NEXTEEL CO., LTD., ET AL.,                         )
                                                   )
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HUSTEEL CO., LTD., AND HYUNDAI STEEL COMPANY,)
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                       v.                          )    Consolidated Court
                                                   )    No. 20-03898
UNITED STATES,                                     )
                                                   )
                          Defendant,               )
                                                   )
                      and                          )
                                                   )
CALIFORNIA STEEL INDUSTRIES, INC. ET AL.,          )
                                                   )
                          Defendant-Intervenors )
                          and Consolidated         )
                          Defendant-Intervenors. )


                                   COMMENTS OF
                             SEAH STEEL CORPORATION
                     ON COMMERCE’S REDETERMINATION ON REMAND


      This brief is submitted on behalf of SeAH Steel Corporation (“SeAH”) to comment

on the redetermination on remand by the Department of Commerce in the third

administrative review of Welded Line Pipe (“Line Pipe”) from Korea.1




1
 See Commerce’s July 18, 2022, Final Results of Redetermination Pursuant to Court
Remand (hereinafter “Redetermination”), ECF No. 96.
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        A.   Commerce’s Negative PMS Finding in its Remand
             Redetermination Complied with This Court’s Remand Order

       The Court’s April 19 decision held that Commerce’s explanation for its finding of a

particular market situation (“PMS”) in the above-referenced review was not supported by

substantial evidence.2 Accordingly, the Court remanded the case for further explanation or

reconsideration consistent with the Court’s opinion.3 In its Redetermination, Commerce

concluded, “under respectful protest,” that “in light of the limitations of the information on

the record… {and} the Court’s opinion, {Commerce is} unable to determine that a PMS

exists that distorts the COP of WLP.”4

       As explained at length in our previous submissions to the Court, we fully agree that

Commerce’s PMS finding was not supported by substantial evidence on the record.5

Furthermore, as noted in the Redetermination, no party could point to new evidence on the

record that was not already considered by Commerce when it reached its original final

determination.6 Since the Court rejected Commerce’s finding in the final determination for

failing to be supported by substantial evidence, Commerce correctly determined on remand

that the evidence on the record did not support a finding of a PMS. The Court, therefore,

should affirm the Redetermination’s decision to recalculate the dumping margins for SeAH

without any PMS adjustment.



2
 See NEXTEEL v. United States, Case No. 20-03898, Slip Op. 22-37, at 10-15 (CIT
April 19, 2022).
3
    See id. at 9-15, 21 and 34-35.
4
    Redetermination at 6.
5
    See SeAH’s May 24, 2021, Initial Brief at 2-3 and 5-29, ECF No. 61.
6
    See Redetermination at 16.


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        B.   Other Issues Pertaining to SeAH Do Not Need
             to Be Addressed Further in This Appeal

       In its April 19 order, the Court also held that the regression analysis used by

Commerce to calculate the PMS adjustment was not supported by substantial evidence,7

that the application of a PMS adjustment to SeAH’s cost of hot-rolled coil for purposes of

the sales-below-cost test was not permitted by statute,8 and that Commerce’s denial of a

constructed-export-price offset for SeAH was not supported by substantial evidence.9

Commerce did not reach the substance of these issues in its Redetermination on the basis

that the issues have been rendered moot due to its reversal of the PMS determination.

       Specifically Commerce stated that, because it has concluded that a finding of a PMS

is not supported by substantial evidence in its Redetermination, it is not necessary to

address any issues concerning the validity of the regression used to calculate the PMS

adjustment in the underlying administrative review or the permissibility of applying a PMS

adjustment for the sales-below-cost-test.10 We agree that, as long as there is a negative

PMS determination, these issues have been rendered moot and that it is not necessary for

Commerce to address them further in this appeal.

       Furthermore, in its Redetermination, Commerce found that without a PMS

adjustment, the dumping margins for SeAH would be zero regardless of whether it applied

a constructed-export-price offset.11 Therefore, Commerce stated that it is not necessary to


7
    See NEXTEEL, Slip Op. 22-37 at 20-21.
8
    See id. at 9-10.
9
    See id. at 33.
10
     See Redetermination at 6.
11
     See id. at 12.


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address whether Commerce’s denial of a constructed-export-price offset for SeAH was

supported by substantial evidence.12 We agree that, as along as the dumping margin for

SeAH is zero, the issues concerning the applicability of a constructed-export-price offset

have been rendered moot and that it is not necessary for Commerce to address them further

in this appeal.

                                       CONCLUSION

       For the foregoing reasons, we respectfully request that Commerce’s Remand

Redetermination be affirmed as it applies to SeAH.


                                              Respectfully submitted,

                                              /s/Jeffrey M. Winton

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12
     See id.


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                                 Certificate of Compliance


     Pursuant to the Court’s “Standard Chambers Procedures,” I, Jeffrey M. Winton,
hereby certify that the word count function of the word-processing system used to prepare
the foregoing brief indicates that the brief contains 735 words including headings,
footnotes, and quotations, but not including the cover, caption, table of contents, table of
authorities, any addendum containing statutes, rules or regulations, any certificates of
counsel, and counsel’s signature block.



                                                /s/Jeffrey M. Winton



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